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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

Civil Cover Sheet

This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
use only in the District of Arizona.

The completed cover sheet must be printed directly to PDF and filed as an attachment to the
Complaint or Notice of Removal.

Pinal County, a public entity ; Pinal
County Sheriff's Office, a division of
Pinal County ; Sheriff Mark Lamb,

Plaintiff(s): Dennis Ashcraft ; Barbara Ashcraft Defendant(s): in his official and individual capacity
; John Does I-L ; Jane Does, LI-C ;
ABC Corporations CI-CL ; XYZ
Partnerships CLI-CC

County of Residence: Pinal County of Residence: Pinal
County Where Claim For Relief Arose: Pinal

Plaintiff's Atty(s): Defendant's Atty(s):

Alexandra S, Rubin James M. Jellison

Rubin Law PLC Jellison LawOffices, P.L.L.C

3550 North Central Avenue, Suite 1010 36889 N. Tom Darlington Drive Suite B7; Box 2800
Phoenix, Arizona 85012-2111 Carefree, Arizona 85377

602-795-4888 602-550-6405

REMOVAL FROM PINAL COUNTY, CASE #81100CV201900034

IL, Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

III. Citizenship of Principal
Parties (Diversity Cases Only)
Plaintiff:- 1 Citizen of This State
Defendant:- 1 Citizen of This State

IV. Origin : 2. Removed From State Court
V. Nature of Suit: 440 Other Civil Rights
VLCause of Action: Civil rights: 28 U.S.C section 1331; 28 U.S.C. section 1343; 28 U.S.C.

section 1441; U.S.C. section 1446
Vil. Requested in Complaint
Class Action: No
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Dollar Demand:
Jury Demand: Yes
VIL This case is not related to another case.

Signature: /s/James M. Jellison
Date: 4/24/19

If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

Revised: 01/2014

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